 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

              Western District of Washington

 Case number (If known):                              Chapter you are filing under:
                                                      ✔
                                                      ❑         Chapter 7
                                                      ❑         Chapter 11
                                                      ❑         Chapter 12
                                                      ❑         Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Jose
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   Gerardo
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Majano Velasquez
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
                                                   Jose
       in the last 8 years                         First name                                                       First name
       Include your married or maiden              Gerardo
       names.                                      Middle name                                                      Middle name
                                                   Majano Velasquez
                                                   Last name                                                        Last name



                                                   Felix
                                                   First name                                                       First name
                                                   Antonio
                                                   Middle name                                                      Middle name
                                                   Martinez Interiano
                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 2        7       0   5                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Jose                Gerardo                      Majano Velasquez                                   Case number (if known)
                     First Name          Middle Name                  Last Name




                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          17728 12th Ave NE #203
                                          Number             Street                                           Number            Street




                                          Seattle, WA 98155
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          King
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
                    Case 19-11426-TWD                      Doc 1       Filed 04/18/19              Ent. 04/18/19 17:25:20                     Pg. 2 of 77
 Debtor 1            Jose                Gerardo                  Majano Velasquez                                     Case number (if known)
                     First Name          Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY




                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ✔
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ✔
                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
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 Debtor 1             Jose                    Gerardo                  Majano Velasquez                                  Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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 Debtor 1            Jose                 Gerardo                    Majano Velasquez                                    Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
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 Debtor 1            Jose                   Gerardo                    Majano Velasquez                                   Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ✔
                                                           ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?
                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your assets to be worth?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your liabilities to be?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Jose Gerardo Majano Velasquez
                                         Jose Gerardo Majano Velasquez, Debtor 1
                                         Executed on 04/18/2019
                                                         MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
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 Debtor 1            Jose                   Gerardo                Majano Velasquez                                   Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ John Richard Laris                                                Date 04/18/2019
                                                 John Richard Laris, Attorney                                                MM / DD / YYYY




                                                 John Richard Laris
                                                 Printed name

                                                 Barraza Law, PLLC
                                                 Firm name

                                                 14245-F Ambaum Blvd SW
                                                 Number     Street



                                                 Burien                                                               WA      98166
                                                 City                                                                State    ZIP Code



                                                 Contact phone (206) 691-8316                                     Email address john@barrazalaw.com




                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
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 Fill in this information to identify your case and this filing:

  Debtor 1                          Jose                         Gerardo                    Majano Velasquez
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                       Western District of Washington
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ✔ No. Go to Part 2.
      ❑
      ❑ Yes. Where is the property?
                                                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              description
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                             ❑ Other                                                                     as fee simple, tenancy by the entireties, or a life
                                                                                                                                                         estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another                                        (see instructions)
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜                   $0.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1

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 Debtor 1                   Jose                          Gerardo                          Majano Velasquez                                                    Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Nissan                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Versa
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $2,625.00                   $2,625.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Dodge                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Journey
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $6,425.00                   $6,425.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




       3.3 Make:                                   Nissan                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Murano
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $8,400.00                   $8,400.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $17,450.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2

                       Case 19-11426-TWD                                   Doc 1              Filed 04/18/19                      Ent. 04/18/19 17:25:20                         Pg. 9 of 77
 Debtor 1              Jose                   Gerardo                   Majano Velasquez                                  Case number (if known)
                       First Name             Middle Name               Last Name




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Household items located at 17728 12th Ave NE, #203: Living room furniture, television, cell phones,
                                      computer, laptop, dining room set, family room furniture, holiday ornaments, knick knacks, bedroom                           $600.00
                                      furniture for debtors & children, personal effects, kitchen ware, kitchen appliances, washer/dryer, generic
                                      wall art, patio furniture, miscellaneous tools and appliances


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games
       ✔ No
       ❑
       ❑ Yes. Describe........

 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Debtor's clothes and shoes                                                                                                   $300.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........




Official Form 106A/B                                                              Schedule A/B: Property                                                        page 3

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 Debtor 1                     Jose                               Gerardo                                Majano Velasquez                                                           Case number (if known)
                              First Name                         Middle Name                            Last Name



 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                        $900.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                Bank of America account ending in 4202                                                                                              $412.74


 17.2. Checking account:


 17.3. Savings account:                                 Bank of America account ending in 5567                                                                                              $305.74


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:



Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4

                       Case 19-11426-TWD                                           Doc 1                 Filed 04/18/19                            Ent. 04/18/19 17:25:20                             Pg. 11 of 77
 Debtor 1                 Jose                  Gerardo                 Majano Velasquez                                   Case number (if known)
                          First Name            Middle Name              Last Name



 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....



Official Form 106A/B                                                               Schedule A/B: Property                                                  page 5

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 Debtor 1              Jose                     Gerardo                 Majano Velasquez                                     Case number (if known)
                       First Name               Middle Name              Last Name



 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                  Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                           Company name:                                           Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                                              page 6

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 Debtor 1                  Jose                           Gerardo                            Majano Velasquez                                                     Case number (if known)
                           First Name                      Middle Name                       Last Name



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                             $718.48



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 7

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 Debtor 1                  Jose                           Gerardo                           Majano Velasquez                                                      Case number (if known)
                           First Name                      Middle Name                       Last Name



 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8

                     Case 19-11426-TWD                                     Doc 1              Filed 04/18/19                       Ent. 04/18/19 17:25:20                          Pg. 15 of 77
 Debtor 1                   Jose                             Gerardo                             Majano Velasquez                                                        Case number (if known)
                            First Name                       Middle Name                          Last Name



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                 $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                  $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                           $0.00


 56.   Part 2: Total vehicles, line 5                                                                                        $17,450.00


 57.   Part 3: Total personal and household items, line 15                                                                        $900.00


 58.   Part 4: Total financial assets, line 36                                                                                    $718.48


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $19,068.48             Copy personal property total➜          +       $19,068.48




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                     $19,068.48




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                    page 9

                      Case 19-11426-TWD                                       Doc 1               Filed 04/18/19                         Ent. 04/18/19 17:25:20                           Pg. 16 of 77
 Fill in this information to identify your case:

  Debtor 1                    Jose                 Gerardo             Majano Velasquez
                              First Name           Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                                                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from       Check only one box for each exemption.
                                                             Schedule A/B

                                                                                       ✔
 Brief description:
 2011 Nissan Murano                                                        $8,400.00
                                                                                       ❑                $3,775.00               11 U.S.C. § 522(d)(2)
                                                                                       ❑   100% of fair market value, up to
 Line from                                                                                 any applicable statutory limit
 Schedule A/B:          3.3
                                                                                       ✔
                                                                                       ❑                $1,421.00               11 U.S.C. § 522(d)(5)
                                                                                       ❑   100% of fair market value, up to
                                                                                           any applicable statutory limit


                                                                                       ✔
 Brief description:
 Household items located at 17728 12th Ave NE, #203:                        $600.00
                                                                                       ❑                 $600.00                11 U.S.C. § 522(d)(3)

 Living room furniture, television, cell phones,                                       ❑   100% of fair market value, up to
 computer, laptop, dining room set, family room                                            any applicable statutory limit
 furniture, holiday ornaments, knick knacks, bedroom
 furniture for debtors & children, personal effects,
 kitchen ware, kitchen appliances, washer/dryer,
 generic wall art, patio furniture, miscellaneous tools
 and appliances

 Line from
 Schedule A/B:           6




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                  page 1 of 3




                   Case 19-11426-TWD                      Doc 1        Filed 04/18/19           Ent. 04/18/19 17:25:20              Pg. 17 of 77
 Debtor 1             Jose                   Gerardo                   Majano Velasquez                                     Case number (if known)
                      First Name             Middle Name               Last Name


 Part 2: Additional Page


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                page 2 of 3




                 Case 19-11426-TWD                       Doc 1         Filed 04/18/19              Ent. 04/18/19 17:25:20                    Pg. 18 of 77
 Debtor 1             Jose                Gerardo               Majano Velasquez                                Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 Debtor's clothes and shoes                                            $300.00
                                                                                 ❑                 $300.00                  11 U.S.C. § 522(d)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        11


                                                                                 ✔
 Brief description:
 Bank of America account ending in 4202                                $412.74
                                                                                 ❑                 $412.74                  11 U.S.C. § 522(d)(5)

 Checking account                                                                ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                 ✔
 Brief description:
 Bank of America account ending in 5567                                $305.74
                                                                                 ❑                 $305.74                  11 U.S.C. § 522(d)(5)

 Savings account                                                                 ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 3 of 3




                 Case 19-11426-TWD                  Doc 1        Filed 04/18/19           Ent. 04/18/19 17:25:20                 Pg. 19 of 77
 Fill in this information to identify your case:

  Debtor 1                       Jose                    Gerardo              Majano Velasquez
                                 First Name          Middle Name             Last Name

  Debtor 2
  (Spouse, if filing)            First Name          Middle Name             Last Name

  United States Bankruptcy Court for the:                           Western District of Washington

  Case number                                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for           Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much          Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                               Do not deduct the      that supports         portion
                                                                                                                           value of collateral.   this claim            If any
 2.1 Credit Acceptance                                      Describe the property that secures the claim:                          $12,126.00              $6,425.00              $5,701.00
        Creditor's Name
                                                             2011 Dodge Journey
         Po Box 513
        Number          Street
         Southfield, MI 48037                               As of the date you file, the claim is: Check all that apply.
        City                        State     ZIP Code      ❑Contingent
        Who owes the debt? Check one.                       ❑Unliquidated
        ✔ Debtor 1 only
        ❑                                                   ❑Disputed
        ❑Debtor 2 only                                      Nature of lien. Check all that apply.
        ❑Debtor 1 and Debtor 2 only                         ❑An agreement you made (such as mortgage or
        ❑At least one of the debtors and another               secured car loan)
        ❑Check if this claim relates to a                   ❑Statutory lien (such as tax lien, mechanic's lien)
           community debt
                                                            ❑Judgment lien from a lawsuit
        Date debt was incurred                              ❑Other (including a right to offset)
        7/1/2018
                                                            Last 4 digits of account number 5            7   0    7

         Add the dollar value of your entries in Column A on this page. Write that number here:                                           $12,126.00




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3

                    Case 19-11426-TWD                         Doc 1           Filed 04/18/19                 Ent. 04/18/19 17:25:20                    Pg. 20 of 77
 Debtor 1              Jose               Gerardo                    Majano Velasquez                                      Case number (if known)
                       First Name         Middle Name                Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Simpson Ccu                                    Describe the property that secures the claim:                           $5,514.00                  $0.00           $5,514.00
     Creditor's Name
      526 W Cedar St
     Number          Street
      Shelton, WA 98584                             As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     6/1/2014
                                                    Last 4 digits of account number 2            5   0    0




 2.3 TwinStar CU                                    Describe the property that secures the claim:                           $5,750.00              $2,625.00           $3,125.00
     Creditor's Name
                                                     2011 Nissan Versa
      4525 Intelco Loop Se
     Number          Street
      Lacey, WA 98503                               As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     4/1/2015
                                                    Last 4 digits of account number 0            4   0    0




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $11,264.00




Official Form 106D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3

                Case 19-11426-TWD                     Doc 1           Filed 04/18/19                 Ent. 04/18/19 17:25:20                    Pg. 21 of 77
 Debtor 1              Jose               Gerardo                    Majano Velasquez                                      Case number (if known)
                       First Name          Middle Name               Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.4 Wells Fargo Dealer Services                    Describe the property that secures the claim:                           $3,204.00              $8,400.00                  $0.00
     Creditor's Name
                                                     2011 Nissan Murano
      Po Box 1697
     Number          Street
      Winterville, NC 28590                         As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ❑Debtor 1 only                                 ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ✔At least one of the debtors and another
     ❑                                                 secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     3/1/2013
                                                    Last 4 digits of account number 4            4   6    8




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       $3,204.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $26,594.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3

                Case 19-11426-TWD                     Doc 1           Filed 04/18/19                 Ent. 04/18/19 17:25:20                    Pg. 22 of 77
 Fill in this information to identify your case:

  Debtor 1                   Jose                  Gerardo             Majano Velasquez
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 22

                   Case 19-11426-TWD                    Doc 1         Filed 04/18/19              Ent. 04/18/19 17:25:20                    Pg. 23 of 77
 Debtor 1              Jose                   Gerardo                   Majano Velasquez                                   Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Aaron's Sales & Lease                                                     Last 4 digits of account number 7776                                                     $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          03/01/2017
        1015 Cobb Place Blvd Nw                                                   As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Kennesaw, GA 30144
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Lease

        ❑ Yes
4.2     Aaron's Sales & Lease                                                     Last 4 digits of account number 7090                                                     $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          07/01/2014
        1015 Cobb Place Blvd Nw                                                   As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Kennesaw, GA 30144
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Lease

        ❑ Yes
4.3     Aaron's Sales & Lease                                                     Last 4 digits of account number 1472                                                     $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/01/2012
        1015 Cobb Place Blvd Nw                                                   As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Kennesaw, GA 30144
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Lease

        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 22

                   Case 19-11426-TWD                       Doc 1         Filed 04/18/19              Ent. 04/18/19 17:25:20                      Pg. 24 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.4     ARS National Services, Inc.                                         Last 4 digits of account number 2797                                                 $511.51
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 469100
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Escondido, CA 92046                                                 ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Collections for Chase Bank
4.5     Bank Of America                                                     Last 4 digits of account number 9958                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          01/01/2012
        Po Box 982238
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        El Paso, TX 79998
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 3 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 25 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.6     Capital One                                                         Last 4 digits of account number 2870                                                 $876.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          11/01/2015
        15000 Capital One Dr
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond, VA 23238
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.7     Capital One                                                         Last 4 digits of account number 1270                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          04/29/2012
        Po Box 30253
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Salt Lake City, UT 84130
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.8     Capital One                                                         Last 4 digits of account number 8630                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          11/01/2011
        15000 Capital One Dr
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond, VA 23238
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 4 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 26 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.9     Capital One                                                         Last 4 digits of account number 0682                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/14/2005
        15000 Capital One Dr
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond, VA 23238
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.10    Capital One/Dress Barn                                              Last 4 digits of account number 7598                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          01/26/2011
        Po Box 30253
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Salt Lake City, UT 84130
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.11    Capital One/Dress Barn                                              Last 4 digits of account number 8594                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          01/26/2011
        Po Box 30253
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Salt Lake City, UT 84130
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 5 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 27 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.12    Chase Card Services                                                 Last 4 digits of account number 0049                                                 $511.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          11/01/2011
        P.o. Box 15298
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.13    Citibank/The Home Depot                                             Last 4 digits of account number 3884                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          03/17/2012
        Po Box 6497
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57117
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 6 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 28 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.14    Comcast                                                                                                                                                    $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Floor 32
                                                                            As of the date you file, the claim is: Check all that apply.
        1701 John F. Kennedy Blvd
       Number           Street                                              ❑   Contingent
        Philadelphia, PA 19103-0000                                         ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only, debt being collected by ERC
4.15    Credit One Bank                                                     Last 4 digits of account number 4186                                                   $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/01/2013
        Po Box 98875
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Las Vegas, NV 89193
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




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                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 29 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.16    Equifax                                                                                                                                                    $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        P.O. Box 740256
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30374                                                   ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only
4.17    ERC/Enhanced Recovery Corp                                          Last 4 digits of account number 4773                                                 $164.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/01/2018
        8014 Bayberry Rd
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Jacksonville, FL 32256
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CollectionAttorney

       ❑      Yes




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                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 30 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.18    Experian                                                                                                                                                   $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        P.O. Box 4500
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Allen, TX 75013                                                     ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only
4.19    First Premier Bank                                                  Last 4 digits of account number 9041                                            $1,069.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          06/01/2012
        3820 N Louise Ave
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57107
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




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                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 31 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.20    First Premier Bank                                                  Last 4 digits of account number 3458                                                $604.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          03/01/2010
        3820 N Louise Ave
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57107
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.21    Gesa Cu                                                             Last 4 digits of account number 0420                                                  $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          05/01/2010
        PO Box 500
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richland, WA 99352
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only




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 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.22    Harborstone Credit Union                                            Last 4 digits of account number 2306                                                  $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/01/2013
        9611 Gravely Lake Sw
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lake Wood, WA 98499
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only
4.23    Integon National Insurance Company                                  Last 4 digits of account number 1766                                                $987.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5630 University Parkway
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Winston Salem, NC 27105                                             ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.24    Internal Revenue Service                                                                                                                                $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Centralized Insolvency Operat.
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 7346
       Number           Street                                              ❑   Contingent
        Philadelphia, PA 19101-7346                                         ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only
4.25    LVNV Funding/Resurgent Capital                                      Last 4 digits of account number 4186                                            $1,949.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          10/01/2017
        Po Box 1269
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Greenville, SC 29602
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                FactoringCompanyAccount

       ❑      Yes




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                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 34 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.26    Mandarich Law Group, LLP                                            Last 4 digits of account number 4186                                            $1,949.72
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        420 N Wabash Ave Ste 400
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Chicago, IL 60611                                                   ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Collections attorneys for LVNV Funding
4.27    Merrick Bank/CardWorks                                              Last 4 digits of account number 1155                                            $3,127.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/2012
        Pob 9201
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Old Bethpage, NY 11804
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




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 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.28    Nordstrom FSB                                                       Last 4 digits of account number 1524                                                  $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          07/01/2014
        13531 E. Caley Ave
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Englewood, CO 80111
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.29    Portfolio Recovery                                                  Last 4 digits of account number 9318                                                $517.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/01/2017
        120 Corporate Blvd Ste 100
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Norfolk, VA 23502
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                FactoringCompanyAccount

       ❑      Yes




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 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.30    Portfolio Recovery                                                  Last 4 digits of account number 3604                                            $3,864.03
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 41067
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Norfolk, VA 23541-0000                                              ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Collection case
4.31    Suttell & Hammer, PS                                                Last 4 digits of account number .001                                            unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box C-90006
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Bellevue, WA 98009                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only, collection attorneys for Portfolio Recovery




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 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.32    Synchrony Bank/ JC Penneys                                          Last 4 digits of account number 8070                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          07/01/2012
        Po Box 965007
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.33    Synchrony Bank/Amazon                                               Last 4 digits of account number 0684                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/02/2012
        Po Box 965015
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.34    Synchrony Bank/Chevron                                              Last 4 digits of account number 9318                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          04/01/2012
        Po Box 965015
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 16 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 38 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.35    Synchrony Bank/Sams                                                 Last 4 digits of account number 2354                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          05/03/2012
        Po Box 965005
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.36    Synchrony Bank/Walmart                                              Last 4 digits of account number 7737                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          10/17/2012
        Po Box 965024
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.37    Synchrony Bank/Walmart                                              Last 4 digits of account number 1158                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          10/17/2012
        Po Box 965024
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 17 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 39 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.38    Transunion                                                                                                                                              $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        2 Baldwin Place, PO Box 1000
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Chester, PA 19016                                                   ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only
4.39    TwinStar CU                                                         Last 4 digits of account number 0809                                            $4,989.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          09/01/2015
        4525 Intelco Loop Se
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lacey, WA 98503
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 18 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 40 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.40    Verizon Wireless                                                    Last 4 digits of account number 0001                                                $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          10/01/2013
        Po Box 650051
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Dallas, TX 75265
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                UnknownLoanType

       ❑      Yes
4.41    Visa Dept Store National Bank/Macy's                                Last 4 digits of account number 5750                                            $1,352.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/2010
        Po Box 8218
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mason, OH 45040
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 19 of 22
                    Case 19-11426-TWD                   Doc 1       Filed 04/18/19             Ent. 04/18/19 17:25:20                      Pg. 41 of 77
 Debtor 1              Jose                   Gerardo               Majano Velasquez                                 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.42    WA Department of Revenue                                                                                                                                $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Bankruptcy/Claims Unit
                                                                            As of the date you file, the claim is: Check all that apply.
        2101 4th Ave # 1400
       Number           Street                                              ❑   Contingent
        Seattle, WA 98121-2300                                              ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice only




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 20 of 22
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 Debtor 1              Jose                Gerardo                 Majano Velasquez                                  Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Mandarich Law Group, LLP                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        420 N Wabash Ave Ste 400                                      Line 4.25 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Chicago, IL 60611
       City                                  State      ZIP Code      Last 4 digits of account number

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 21 of 22
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 Debtor 1              Jose                 Gerardo                Majano Velasquez                            Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                             Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                               $0.00




                                                                                             Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $22,470.26
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $22,470.26




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 22 of 22
                Case 19-11426-TWD                        Doc 1      Filed 04/18/19          Ent. 04/18/19 17:25:20               Pg. 44 of 77
 Fill in this information to identify your case:

     Debtor 1                   Jose                 Gerardo            Majano Velasquez
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                     Western District of Washington

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1

                      Case 19-11426-TWD                   Doc 1         Filed 04/18/19             Ent. 04/18/19 17:25:20                    Pg. 45 of 77
 Fill in this information to identify your case:

  Debtor 1                        Jose                    Gerardo          Majano Velasquez
                                 First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                           Western District of Washington

  Case number                                                                                                                              ❑    Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live?
        ❑                                                                                               . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                              Check all schedules that apply:
3.1                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number          Street                                                                                  ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                             Schedule H: Your Codebtors                                                             page 1 of 1




                      Case 19-11426-TWD                        Doc 1       Filed 04/18/19            Ent. 04/18/19 17:25:20                Pg. 46 of 77
 Fill in this information to identify your case:

  Debtor 1                   Jose                  Gerardo            Majano Velasquez
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                    Western District of Washington                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  Painter
     employers.
                                               Employer's name             DLT Washington LLC
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          9215 S. Decatur Blvd
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           Las Vegas, NV 89139
                                                                            City                     State    Zip Code         City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $4,333.33                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $4,333.33                      $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1

                   Case 19-11426-TWD                     Doc 1       Filed 04/18/19               Ent. 04/18/19 17:25:20                   Pg. 47 of 77
 Debtor 1                  Jose                            Gerardo                             Majano Velasquez                                Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $4,333.33                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $725.83                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: See additional page                                                               5h.
                                                                                                                             +           $82.46        +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $808.30                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,525.04                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $3,525.04   +                $0.00        =       $3,525.04

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $3,525.04
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2

                     Case 19-11426-TWD                                      Doc 1               Filed 04/18/19               Ent. 04/18/19 17:25:20             Pg. 48 of 77
 Debtor 1              Jose            Gerardo           Majano Velasquez                    Case number (if known)
                       First Name      Middle Name       Last Name




                                                                                                                             Amount



   5h. Other Deductions For Debtor 1
   employmentDetailsId: 10388
        Int Paint/Wallpaper                                                                                                    $25.26
   employmentDetailsId: 10388
        Painting-Ext                                                                                                           $57.20




Official Form 106I                                        Schedule I: Your Income                                                page 3


                 Case 19-11426-TWD               Doc 1   Filed 04/18/19         Ent. 04/18/19 17:25:20        Pg. 49 of 77
 Fill in this information to identify your case:

  Debtor 1                   Jose                     Gerardo                Majano Velasquez
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                          Western District of Washington

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                          ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                        $725.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1

                   Case 19-11426-TWD                         Doc 1           Filed 04/18/19         Ent. 04/18/19 17:25:20                  Pg. 50 of 77
 Debtor 1              Jose                   Gerardo                  Majano Velasquez                      Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                       $200.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $100.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $200.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                        $677.00

 8.    Childcare and children’s education costs                                                                    8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $100.00

 10. Personal care products and services                                                                           10.                        $63.00

 11.   Medical and dental expenses                                                                                 11.                        $98.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $438.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $200.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                        $0.00
       15a. Life insurance
                                                                                                                   15b.                        $0.00
       15b. Health insurance
                                                                                                                   15c.                      $150.00
       15c. Vehicle insurance
                                                                                                                   15d.                        $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.                      $212.00

       17b. Car payments for Vehicle 2                                                                             17b.                      $359.00

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                        $0.00

       20b. Real estate taxes                                                                                      20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                        $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                              page 2

                    Case 19-11426-TWD                      Doc 1        Filed 04/18/19        Ent. 04/18/19 17:25:20          Pg. 51 of 77
 Debtor 1              Jose                 Gerardo                 Majano Velasquez                        Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +               $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $3,522.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $3,522.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                $3,525.04

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –            $3,522.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                    $3.04
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                           page 3

                 Case 19-11426-TWD                     Doc 1         Filed 04/18/19           Ent. 04/18/19 17:25:20          Pg. 52 of 77
 Fill in this information to identify your case:

  Debtor 1                         Jose                           Gerardo                    Majano Velasquez
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                        Western District of Washington

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                               $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $19,068.48


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                         $19,068.48



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                  $26,594.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $22,470.26


                                                                                                                                                                  Your total liabilities                       $49,064.26

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $3,525.04


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $3,522.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2

                      Case 19-11426-TWD                                   Doc 1             Filed 04/18/19                       Ent. 04/18/19 17:25:20                             Pg. 53 of 77
 Debtor 1             Jose                   Gerardo                  Majano Velasquez                                    Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                       $4,000.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2 of 2

                  Case 19-11426-TWD                      Doc 1         Filed 04/18/19              Ent. 04/18/19 17:25:20                      Pg. 54 of 77
 Fill in this information to identify your case:

  Debtor 1                   Jose                  Gerardo          Majano Velasquez
                             First Name            Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Jose Gerardo Majano Velasquez
        Jose Gerardo Majano Velasquez, Debtor 1                        ✘
        Date 04/18/2019                                                    Date
                MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules

                   Case 19-11426-TWD                    Doc 1       Filed 04/18/19            Ent. 04/18/19 17:25:20                 Pg. 55 of 77
 Fill in this information to identify your case:

  Debtor 1                   Jose                  Gerardo             Majano Velasquez
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                     Number     Street
                                                             To                                                                           To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                     Number     Street
                                                             To                                                                           To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1




                    Case 19-11426-TWD                      Doc 1         Filed 04/18/19               Ent. 04/18/19 17:25:20              Pg. 56 of 77
Debtor 1            Jose                 Gerardo                  Majano Velasquez                                    Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $14,000.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $45,000.00            bonuses, tips
    (January 1 to December 31, 2018         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $52,990.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2




                    Case 19-11426-TWD                     Doc 1         Filed 04/18/19              Ent. 04/18/19 17:25:20                     Pg. 57 of 77
Debtor 1            Jose                  Gerardo                   Majano Velasquez                                      Case number (if known)
                    First Name               Middle Name            Last Name


    For last calendar year:
    (January 1 to December 31, 2018           )
                                      YYYY




    For the calendar year before that:
    (January 1 to December 31, 2017           )
                                      YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                              Dates of             Total amount paid            Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number        Street                                                                                                         ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                    State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 3




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Debtor 1            Jose                  Gerardo                  Majano Velasquez                                     Case number (if known)
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                    collections
    Case title       LVNV Funding LLC v. Jose
                     Majano & DOE Majano
                                                                                                King County Superior Court                       ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
    Case number
                                                                                                                                                 ❑Concluded
                                                                                                516 3rd Ave
                                                                                               Number       Street
                                                                                                Seattle, WA 98104
                                                                                               City                       State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4




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Debtor 1            Jose                   Gerardo                  Majano Velasquez                                Case number (if known)
                    First Name             Middle Name              Last Name

                                                      Nature of the case                       Court or agency                                Status of the case


                                                                                                                                             ✔Pending
                                                      collections
    Case title        Portfolio Recovery v. Jose
                      Majano
                                                                                              King County District Court                     ❑
                                                                                                                                             ❑On appeal
                                                                                              Court Name

                                                                                                                                             ❑Concluded
    Case number 19-03604                                                                      516 3rd Ave
                                                                                              Number       Street
                                                                                              Seattle, WA 98104-0000
                                                                                              City                     State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                     Describe the property                                    Date             Value of the property



    Creditor’s Name


    Number       Street                                              Explain what happened

                                                                    ❑Property was repossessed.
                                                                    ❑Property was foreclosed.
                                                                    ❑Property was garnished.
    City                          State     ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                          Date action was   Amount
                                                                                                                           taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5




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Debtor 1             Jose                   Gerardo                 Majano Velasquez                                Case number (if known)
                     First Name             Middle Name             Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave       Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                    Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6




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Debtor 1            Jose               Gerardo                   Majano Velasquez                               Case number (if known)
                    First Name          Middle Name              Last Name

     Describe the property you lost and       Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                    Include the amount that insurance has paid. List pending
                                              insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred              Date payment or      Amount of payment
     Barraza Law, PLLC                                                                                         transfer was made
    Person Who Was Paid                        Attorney's Fee
                                                                                                              4/19/2019                         $1,665.00
     14245-F Ambaum Blvd SW
    Number     Street




     Burien, WA 98166
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of any property transferred              Date payment or      Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7




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Debtor 1            Jose                Gerardo                 Majano Velasquez                                  Case number (if known)
                    First Name          Middle Name             Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Jose                 Gerardo                 Majano Velasquez                                  Case number (if known)
                    First Name           Middle Name             Last Name

                                                   Last 4 digits of account number          Type of account or      Date account was          Last balance
                                                                                            instrument              closed, sold, moved, or   before closing or
                                                                                                                    transferred               transfer

    Name of Financial Institution
                                                XXXX–                                       ❑Checking
                                                                                            ❑Savings
    Number      Street
                                                                                            ❑Money market
                                                                                            ❑Brokerage
                                                                                            ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Who else had access to it?                     Describe the contents                       Do you still have
                                                                                                                                               it?

                                                                                                                                              ❑No
    Name of Financial Institution               Name
                                                                                                                                              ❑Yes

    Number      Street                          Number       Street



                                                City                   State     ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Who else has or had access to it?              Describe the contents                       Do you still have
                                                                                                                                               it?

                                                                                                                                              ❑No
    Name of Storage Facility                    Name
                                                                                                                                              ❑Yes

    Number      Street                          Number       Street



                                                City                   State     ZIP Code

    City                   State    ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9




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Debtor 1            Jose                  Gerardo                  Majano Velasquez                                      Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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Debtor 1             Jose                   Gerardo                   Majano Velasquez                                     Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State    ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Court or agency                            Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                      ❑Pending
                                                                                                                                                      ❑On appeal
                                                                                                                                                      ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State    ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code




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Debtor 1            Jose                  Gerardo                 Majano Velasquez                              Case number (if known)
                    First Name            Middle Name             Last Name



 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
 or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                    Date issued



    Name                                         MM / DD / YYYY



    Number       Street




    City                     State   ZIP Code




 Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘               /s/ Jose Gerardo Majano Velasquez                   ✘
           Signature of Jose Gerardo Majano Velasquez, Debtor 1               Signature of


           Date 04/18/2019                                                    Date




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                       Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                               Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

  Debtor 1                   Jose                  Gerardo            Majano Velasquez
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ✔ No
                                                                                                                                          ❑
    name:                 Credit Acceptance
                                                                           ❑ Retain the property and redeem it.                           ❑ Yes
    Description of        2011 Dodge Journey                               ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:


    Creditor’s                                                             ✔ Surrender the property.
                                                                           ❑                                                              ✔ No
                                                                                                                                          ❑
    name:                 TwinStar CU
                                                                           ❑ Retain the property and redeem it.                           ❑ Yes
    Description of
    property
                          2011 Nissan Versa
                                                                           ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1


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 Debtor 1             Jose                Gerardo               Majano Velasquez                                Case number (if known)
                      First Name          Middle Name            Last Name




         Additional Page for Part 1

Creditor’s                                                        ❑ Surrender the property.                                    ✔ No
                                                                                                                               ❑
name:                Simpson Ccu
                                                                  ❑ Retain the property and redeem it.                         ❑ Yes
Description of                                                    ✔ Retain the property and enter into a
                                                                  ❑
property                                                              Reaffirmation Agreement.
securing debt:
                                                                  ❑ Retain the property and [explain]:



Creditor’s                                                        ❑ Surrender the property.                                    ✔ No
                                                                                                                               ❑
name:                Wells Fargo Dealer Services
                                                                  ❑ Retain the property and redeem it.                         ❑ Yes
Description of
property
                     2011 Nissan Murano
                                                                  ❑ Retain the property and enter into a
                                                                      Reaffirmation Agreement.
                                                                  ✔ Retain the property and [explain]:
securing debt:
                                                                  ❑
                                                                      Cosigned for car with ex-girlfriend, see if she can
                                                                      take over debt, if not surrender




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                               page


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 Debtor 1             Jose                Gerardo                 Majano Velasquez                                Case number (if known)
                      First Name          Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘              /s/ Jose Gerardo Majano Velasquez                  ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 04/18/2019                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2


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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                Western District of Washington

In re
Majano Velasquez, Jose Gerardo                                                                                          Case No.
Debtor(s)                                                                                                               Chapter         7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $1,665.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $1,665.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         04/18/2019                                       /s/ John Richard Laris
                         Date                                                  Signature of Attorney

                                                                          Barraza Law, PLLC
                                                                              Name of law firm




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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF WASHINGTON
                                                                 SEATTLE DIVISION

IN RE: Majano Velasquez, Jose Gerardo                                                        CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/18/2019              Signature                             /s/ Jose Gerardo Majano Velasquez
                                                                       Jose Gerardo Majano Velasquez, Debtor




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                              Aaron's Sales & Lease
                              1015 Cobb Place Blvd Nw
                              Kennesaw, GA 30144




                              ARS National Services, Inc.
                              PO Box 469100
                              Escondido, CA 92046




                              Bank Of America
                              Po Box 982238
                              El Paso, TX 79998




                              Capital One
                              15000 Capital One Dr
                              Richmond, VA 23238




                              Capital One
                              Po Box 30253
                              Salt Lake City, UT 84130




                              Capital One/Dress Barn
                              Po Box 30253
                              Salt Lake City, UT 84130




                              Chase Card Services
                              P.o. Box 15298
                              Wilmington, DE 19850




                              Citibank/The Home Depot
                              Po Box 6497
                              Sioux Falls, SD 57117




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                              Comcast
                              Floor 32
                              1701 John F. Kennedy Blvd
                              Philadelphia, PA 19103-0000



                              Credit Acceptance
                              Po Box 513
                              Southfield, MI 48037




                              Credit One Bank
                              Po Box 98875
                              Las Vegas, NV 89193




                              Equifax
                              P.O. Box 740256
                              Atlanta, GA 30374




                              ERC/Enhanced Recovery Corp
                              8014 Bayberry Rd
                              Jacksonville, FL 32256




                              Experian
                              P.O. Box 4500
                              Allen, TX 75013




                              First Premier Bank
                              3820 N Louise Ave
                              Sioux Falls, SD 57107




                              Gesa Cu
                              PO Box 500
                              Richland, WA 99352




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                              Harborstone Credit Union
                              9611 Gravely Lake Sw
                              Lake Wood, WA 98499




                              Integon National Insurance
                              Company
                              5630 University Parkway
                              Winston Salem, NC 27105



                              Internal Revenue Service
                              Centralized Insolvency Operat.
                              PO Box 7346
                              Philadelphia, PA 19101-7346



                              LVNV Funding/Resurgent
                              Capital
                              Po Box 1269
                              Greenville, SC 29602



                              Mandarich Law Group, LLP
                              420 N Wabash Ave Ste 400
                              Chicago, IL 60611




                              Merrick Bank/CardWorks
                              Pob 9201
                              Old Bethpage, NY 11804




                              Nordstrom FSB
                              13531 E. Caley Ave
                              Englewood, CO 80111




                              Portfolio Recovery
                              120 Corporate Blvd Ste 100
                              Norfolk, VA 23502




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                              Portfolio Recovery
                              Po Box 41067
                              Norfolk, VA 23541-0000




                              Simpson Ccu
                              526 W Cedar St
                              Shelton, WA 98584




                              Suttell & Hammer, PS
                              PO Box C-90006
                              Bellevue, WA 98009




                              Synchrony Bank/ JC Penneys
                              Po Box 965007
                              Orlando, FL 32896




                              Synchrony Bank/Amazon
                              Po Box 965015
                              Orlando, FL 32896




                              Synchrony Bank/Chevron
                              Po Box 965015
                              Orlando, FL 32896




                              Synchrony Bank/Sams
                              Po Box 965005
                              Orlando, FL 32896




                              Synchrony Bank/Walmart
                              Po Box 965024
                              Orlando, FL 32896




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                              Transunion
                              2 Baldwin Place, PO Box 1000
                              Chester, PA 19016




                              TwinStar CU
                              4525 Intelco Loop Se
                              Lacey, WA 98503




                              Verizon Wireless
                              Po Box 650051
                              Dallas, TX 75265




                              Visa Dept Store National
                              Bank/Macy's
                              Po Box 8218
                              Mason, OH 45040



                              WA Department of Revenue
                              Bankruptcy/Claims Unit
                              2101 4th Ave # 1400
                              Seattle, WA 98121-2300



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